Case 1:24-cv-10045-LTS Document 16-1 Filed 03/25/24 Page 1 of 15

FSA Time Credit Assessment .

EX BIT

FSA R-MED

08-09-2023 0821

Register Number: 64386-0854, Last Name:BORKER : .
U.S. F. BPARTMENT OF | JUSTICE FEDERAL BUREAU OF PRISONS
ee
Register Number....: 64386-054 Responsible Facility: FTD
Inm“ce Name Assessment Date..... : 09-05-2023
aSt.c cece eee eed BORKER Period Start/Stop...: 07~18-2023 to 09-05-2023
First....---.0-5-3 VITALY Accrued Pgm Days....: 47
Middle..........63 Disallowed Pgm Days.: 2
Suffix... .... 0020! | FTC Towards RRC/HC..: 0
Gender...........043 MALE FTC Towards Release.: 10
Start Incarceration: 04-28-2023 Apply FTC to Release: No
Start Stop Pom Status Pgm Days = — Poy
(07-18-2023 09-05-2023 accrue 47 | oe
‘Cannot apply FIC .
Facility Category Assignment Start | Stop _
“PID FSA -R-MED 08~28-2023 1444 CURRENT
Start Stop Pom Status Pqm Days
07-18-2023 07-20-2023 disallow 2°
Incomplete needs assessment
Missing Need Area(s)
Anger/Hostility
Start Stop Pgm Status Pgm Days
07-20-2023 09-05-2023 accrue 47
- Accrued Pgm Days...:°47 .
Carry Over Pgm Days: .0
Time Credit Factor.: 10
Time Credits.......: 10
omer FSA Assessment ee a ee me a am a rae
BS “Start - Stop = Status Risk Assignment Risk ‘Asn, Start “Factor
“001 07-18-2023, 08-15-2023 ACTUAL FSA R MED 08 -09- -2023. 0821 16
08-15-2023 02-11+2024 ACTUAL ‘Lo

to

Aide sarent Date: $3-95-2323
ANSSeSaMEnNe Datel 95-05-2025

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Case 1:24-cv-10045-LTS Document 16-1 Filed 03/25/24 _ Page 2 of 15

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yo Exe BIT Z.
FSA Time Credit Assessment
Register Number: 64386- 5-054, Last Name :BORKER
. U. Ss. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS
Register Number....: 64386~054° ‘ Responsible Facility: DEV
Inmate Name... a Assessment Date.....: 10-25-:2023
Last........ we saet BORKER _ | Period Start/Stop...: 07-18-2023 to 10-25-2023
‘First..... eeeeeeed VITALY : Accrued Pgqm Days....: 30 , -
Middle... . ce eet , . Disallowed Pgm Days.: 69
Suffix...........: FTC Towards RRC/HC..: 0
Gender........ vee. MALE , FTC Towards Release.: 10
Start Thearceration: 04-26-2023 : . | Apply FTC to Release: No - °
Start . | Stop... a Por. Status” “Pgm Days
07-18-2023 10-25-2023. acctue 30
Cannot apply FTC. oe Oe mS SO , . oe Oe
Facility Category Assignment ‘Start : Stop a
DEV FSA ss R=MED 09-24-2023 1232 CURRENT
Start Stop). “Pgm status Pgm Days

07-18-2023 09-25-2023 disallow - 69:
Incemplete needs: assessment .
Missing Need Area(s)

Anger/Hostility |
Antisocial Peers
Cognitions
Start - ‘Stop’ - __ Pgm Status Pgm Days
09-25-2023 10-25-2023. accrue 30
Accrued Pgm Days...: 20

Carry. Over Pgm Days: 0
‘Time Credit -Factor.: 10

Time Credits..... ad 10

--- FSA Assessment won-------- wot eee Temas sen n Nore setter enn ttt ttt rec cerns -
# = Start: ‘ Stop . “Status Risk Assignment isk Asn Start . Factor -- :) Be
001 07-18-2023 08-15-2023 ACTUAL “FSA R-MED 8-09-2023 0822 10- .
002 08-15-2023 02-11-2024 ACTUAL FSA R-MED 8-09-2023 0821 10

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/ Case 1:24-cv-10045-LTS Document 16-1 Filed 03/25/24 Page 3 of 15

fo oe CHM BIT 3
- DEV 1330.13B

‘April 20, 2001

Attachment A

INFORMAL RESOLUTION INSTRUCTIONS: STAFF MUST COMPLETE AND ATTACH
THE ORIGINAL OF THIS FORM TO EACH BP-9 WHEN THE COMPLAINT CANNOT
BE INFORMALLY RESOLVED. THE BP-9 WILL NOT BE ACCEPTED WITHOUT THIS
COMPLETED FORM, EXCEPT THOSE APPEALING UDC ACTIONS. INFORMAL

_ RESOLUTION. FORMS WILL NEVER BE’GIVEN TO THE INMATE TO COMPLETE.

NAME: BORKER, Vitaly REG. NO. 64386-054 UNIT: H-A

DATE BP-9 REQUESTED: \@-

‘DATE BP-9 IssuED :__ la. S$ ‘a3

DATE BP-9 RETURNED. NAG: a2

INMATE 'S COMPLAINT:

I request Federal Time Credits to be awarded towards my release for the following. time periods:
04/28/2023 thru 07-18-2023 and 07-18-2023 thru 09-25-2023. Psychology has confirmed that I.
successfully completed all the FSA neéds assessments.

RELIEF REQUESTED :
I am requesting my FTC’s be updated and applied towards my release.

| ACTION TAKEN. TO INFORMALLY. RESOLVE COMPLAINT:

. Federal Time Credits from 04/28/2023 thru 07- 17-2023 cannot be earned. Eligible offenders .
begin earning time credits once they arrive at their designated BOP facility. You arrived at your
initial designation (FCI FTD) on 07-18-2023.. You were housed in Special Housing Unit from
07-21-23 thru 09-06-2023. You were transferred to FMC Devens on 09-07-2023. The
. Psychology Department | has confirmed you have completed the needs assessment with an.

effective. date.of 09-24-23, 12:32pm. There are no records of assessments being completed from":

07-18-23 thru 09-24-23, 12:00hours. You were in SHU for most of that time period, You are:
earning FTC’s and application toward release will occur when you receive a pattern score of low
Or minimum. “You are. re.currently: a mediuny/pattern score. “ Co

CORRECTIONAL COUNSELOR: DATE: 12-05-2023

UNIT MANAGER'S COMMENTS /ASSISTANCE :

NTT MANECREP: 4 yn nave: 198.3
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a Case 1:24-cv-10045-LTS Document 16-1 Filed 03/25/24 Page 4 of 15

Loy EXH 6 | TT

FEDERAL MEDICAL CENTER, DEVENS, MASSACHUSETTS
RESPONSE TO REQUEST FOR ADMINISTRATIVE REMEDY #1184121-F1

BORKER, Vitaly

- REG. NO. 64386-054

-H Unit

This is in response to your Request for Administrative Remedy, dated December 12, 2023,
wherein you are concerned about the FSA Time Credit received. Specifically, you requested

. your “‘.:.féderal time credits to be recalculated as ‘earned’ for the following time periods: April

28, 2023 - - July 18, 2023 and July 18, 2023 — September 25, 2023.”

-FMC.Devens staffa are not involved i in the 1 process ‘of how FSA Time Credits are calculated. As
such, they are ‘also unable to’ modify or change the credits that have or have not been allocated to
you. Eligible offenders begin earning time credits once they arrive at their designated BOP

- facility. You arrived at your initial designation FC] Fort Dix on July 18, 2023.

Based on the above, your request for Administrative Remedy is for informational purposes only.

If you are not satisfied with this decision, you may appeal to the Regional Director at Bureau of
-Prisons, Northeast Regional Office, U.S. Customs House, 7" Floor, 2" and Chestnut Streets,
_ Philadelphia, Perirsylvania 19106. Your appeal must be received in the Northeast Regional

Office withip qv d ays of the date of this response. |.

4 Jan ltd

Date

4
Case 1:24-cv-10045-LTS Document 16-1 Filed 03/25/24 Page 5 of 15

EXH\ GIT S

RECEIPT. - ADMINISTRATIVE REMEDY

DATE: FEBRUARY 12, 2024

FROM: ADMINISTRATIVE ‘REMEDY COORDINATOR
NORTHEAST REGIONAL OFFICE

TO

DEVENS FMC

THIS ACKNOWLEDGES THE RECEIPT OF THE REGIONAL APPEAL
IDENTIFIED BELOW:

REMEDY ID : 1184121-Ri

DATE RECEIVED : JANUARY 5, 2024

RESPONSE DUE : MARCH 5, 2024

SUBJECT 1 : OTHER SENTENCE COMPUTATION
SUBJECT 2
Case 1:24-cv-10045-LTS Document 16-1 Filed 03/25/24 Page 6 of 15

~ DEV 1330.13B
April 20, 2001
Attachment A

INFORMAL RESOLUTION INSTRUCTIONS: STAFF MUST COMPLETE AND ATTACH
THE ORIGINAL OF THiS FORM TO EACH BP-9 WHEN THE COMPLAINT CANNOT -
BE INFORMALLY RESOLVED. THE BP-9 WILL NOT BE ACCEPTED WITHOUT THIS
_COMPLETED FORM, EXCEPT THOSE APPEALING UDC ACTIONS. INFORMAL -—.
RESOLUTION FORMS WILL NEVER BE GIVEN TO THE INMATE TO COMPLETE.

NAME: _BORKER, Vitaly REG. NO. 64386-054 UNIT: H-A

DATE BP-9 REQUESTED: \-S- a4

‘(DATE BP-9 IssueD o: V-S-a4

DATE BP-9 RETURNED ;_

INMATE'S: COMPLAINT: Oo .

.On 12-08-2023, Probation. amecded my PSR by correcting my criminal history from 8 to:6. This
_ change reduces my risk assignment from medium to low, allowing for application of earued -
_Federal Time Credits. mo et oo

RELIEF REQUESTED: oe
I request that my FSA. time credit assessment sheet be corrected retroactively for the previous. .

- -- two-time periods of (07/18/23~08/15/23) and (08-15-23-02-1 1-24) changing FSA-Med:te
~ FSA-Low which will ailow for a factor of 15 days to begin on 02-11-2024. - De

ACTION TAKEN .TO INFORMALLY RESOLVE COMPLAINT: a. ae
. Unit Team has not-received the amended PSI from DSCC yet. . When Unit Team receives the » 7.

-” amended: PSI,:Unit Teain will notify you.

I

CORRECTIONAL COUNSELOR: M. ‘Buckley ee DATE: 01-05-2024

UNIT MANAGER'S COMMENTS/aSsisTANCE: N$(c, has be crtached and
Shiny au. wr Way in cmanenard Ps) wipe tee

€ase 1:24-cv-10045-LTS Document 16-1 Filed 03/25/24 Page Zof 15

coe yarsiT 7

_’ FEDERAL MEDICAL CENTER, DEVENS, MASSACHUSETTS
“ RESPONSE TO REQUEST FOR ADMINISTRATIVE REMEDY #1186600-F1

‘BORKER, Vitaly
Reg. No. 64386-054
H Unit

This is in response to your Request for Administrative Remedy, received on January 9, 2024, wherein you
claim your criminal history points need to be updated to reflect an amended Pre-Sentence Investigation
(PSI), and request your pattern score be recalculated.

A review of the matter reveals your Unit Team contacted the United States Probation Office, Southern
- District of New York, regarding your concern. The USPO advised, in reference to 23- CR-273, the Court .
adopted your PSI without any. The USPO also related there is no amended PSI." They did acknowledge
a potential retroactive change to your criminal history due to the US Sentencing Commission revising
_ their guidelines. A supplemental report to determine your eligibility has been sent to the Court but‘has
" -not- been ruled on yet. ‘ These retroactive changes do not go into. effect until February 2024. Your Unit
Team will evaluate your case once a decision has been made. :

Based upon the above information, this response is for informational purposes only.

If-you az “ot satisfied with this decision, you may appeal to the RegionaiDirector at Bureau of Prisons,
Northeast Regional Office, U.S. Custom House, 7" Floor, 2" and Chestiut Streets, Philadelphia,

~~ Pennsylvania 19106. Your appeal must he received in the Northeast Regional Office within 20 days of
the date of this response. ,

a Lee B.. > noe - S
F. J. Bo wers, Warden o Dats *
Case 1:24-cv-10045-LTS Document 16-1 Filed 03/25/24 Page 8 of 15

Mayer Brown 1G48¢ 1:22-cr-00273-JSR Document 43 Filed 01/29/24 Page 2 of 2:

Judge Jed S. Rakoff ERAN q (T &
January 26, 2024 .
. Page 2

Accordingly, we respectfully request that Your Honor adopt the Supplement PSI. Thank»
you for your consideration of this request. . :

Respectfully submitted,
/s/-Glen A. Kopp
a Glen A. Kopp
Mayer Browh LLP
gO ORDERED: .

Su) Rigg,

a HONORABLE JED 8. RAKOFF
“UNITED staTes DISTRICT JUDGE

[- 2F-ag

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RECEIPT - ADMINISTRATIVE REMEDY

DATE: FEBRUARY 15, 2024

FROM: ADMINISTRATIVE REMEDY. COORDINATOR =
NORTHEAST REGIONAL OFFICE

TO : VITALY RORKER, 6438€-954 -
DEVENS FMC oUNT: 4 GP. © QTR: #O1-126U

THIS ACKNOWLEDGES THE RECFIPT OF THE REGIONAL APPEAL
IDENTIFIED BELOW: | - :

REMEDY ID : 1186600-R1

DATE RECEIVED : FEBRUARY 1, 2024
RESPONSE DUE > APRIL 1, 2024 .
SUBJECT 1 Lo > OTHER “SENTENCE COMPUTATION ~

SUBJECT 2 :
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Case 1:24-cv-10045-LTS Document 16-1 Filed 03/25/24: Page 10.of 15

Comparison of Item Point Values in PATTERN Revised Version 1.2 and PATTERN Version 1.3

Yellow = items with scores that changed from v 1.2 tov 1.3

= items included inv 1.2 but not v 1.3

Orange = items included in v 1.3. but not 1.2

PATTERN REVISED v 1.2 PATTERN v 1.3
Item Category General | Violent | General Violent | General | Violent | General | Violent
Male Male Female Female Male Male Female | Female
1. Age at time of assessment > 60 0 0 0 0 0 0
51-60 7 4 5 a 1
41-50 14 8 10 2 2
30-40 21 12 15 3 3
26-29 28 16 20 4 4
<26 35 20 25 5 5
2. Sex offender (Walsh) No- 0
Yes 1
3. Violent offense No 0 0 0
Yes 2 5 3
A. Crimine! history points 0-1 0 0 0 0
2-3 8 4 8 2
4-6 16 8 16 4
7-9 24 12 24 6
10-12 32 16 32 8
13+ 40 20: |: 40 10
5. History of escapes None 0 0 0 “OF 0}
> 10 years minor 2 Ths 3 2 3
5-10 years minor 4 2. 6 4 6 |e
<5 years minor or any serious 6 3 9 6 9 |.
6. History of violence None oO; 0. 0 0 0 0
>10 years minor 1 1] 1 aed 1 1
> 15 years serious 2 2 2 2 2 2
5-10 years minor 3 3 3 3 3 3
10-15 years serious 4 4 4 a 4 4
<5 years minor 5 5 5 5 5 5
5-10 serious 6 6 6 6 “ 6 6
<5 years serious 7 7 7. 7 \ 7 7
7. Education score Not enrolled 0 0 0 oF 0 0 0

Case 1:24-cv-10045-LTS

Case 1:24-cv

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Register Number :64386-054, Last Name : BORKER

U.S. DEPARTMEN

Register Number: 64386-054

Inmate Name

Last..----ee: : BORKER

First......-- :; VITALY

Middle.......:

suffix wee eed
Gender........0.6: - MALE

TOF CE mee

Risk Level Inmate....:
General Level...... :

Violent Level...... :

Security Level Facl..:
Responsible Facility.:

Start Incarceration. .

FEDERAL BUREAU_OF PRISONS

R-MED
R-MED (42)
R-LW (23)

Security Level Inmate: LOW

LOW
FTD. .
: 04/28/2023

PATTERN Worksheet Summary

Item

current, ‘Age

' »Walsn w/Convictdon ,

“violent Offense” (earmaia)
criminal History. Boints.”
History of Escapes

HE story. of Violence
education ‘Sdore

Drug Program Status

All Incident Reports (120 Months)
Serious Incident Reports (120 Months)

time. Since, Last: “Incident: Report

Time Since Last Serious Incident Report

FRP Refuse

programs Gompléted’ i" 507

Wo rk: Programs.

- Value - General Score - Violent Score
“47 © Ya ee +B.
“TRUE 2 Oro
"FALSE 0 On
8 24 9.
0 0° 0!
oA. 4 8
" iighschoolbegrecoxGEP, =2:- ’ 22.
* NoDAPCompletion o- Sgn
0 0 0
0 0 0
4/2, O. 8.
N/A 0° Sage
FALSE 0 0
Os ‘ a 0. 0.
0. 0 sae
Total 42. 23.

PATTERN Worksheet Details

“Trem: Programs Completed, Value:

General Score:.

0, Violent. ‘Score:
' Risk. ‘Item. Data: , Pye

ao wen ee wesc se ss re toes cere stress sere eS TT

‘Item: ‘Work Programs ,. Value: O°

General Score: 0, Violent Score:
Risk Item Data
No Data
yaad
Q\ hice

0°

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(1)

Assessment# R-2146656325
Case 1:24-cv-10045-LTS Document 16-1 Filed 03/25/24 Page 12 of 15

1002 08-15-2023: 02-11-2024 ACTUAL FSA R=MED «08-09-2023 0823

cot |
FSA Time Credit Assessment - EX & T 13
oe : .- / Register Number: 64386-054, Last Nama: BORKER
U.S. }. EPARTMENT OF JUSTICE oe FEDERAL, BUREAU OF PRISONS |
"Regist: er Number... .: 64386-054 : a. me Responsible Facility: FTD
 Enmee, Name . . os, oe Soe : Assessment Daté.....: 09-05- -2023
os Master... eee ++? BORKER = | Perdod Stiart/Sstop...: 07- 18-2023 to 09=05- -2023,
“ First ....l.-.....¢ VITALY ee - |Acexued Pgm Days....3 47
| Middle...........: So oe Disallowed Pgm Days.:
ooo Suffix........ ‘eee pe FIC Towards RRC/HC. 0
‘Gender... sb cee ee eens : MALE me FTC Towards Release. 4 10
_ Start Incarceration: 04-28-2023 Apply FTC to Release: No
Start: Stop. - oo Pg Status -Pgm Days’. | - CO Wo ue
"07-18-2023 09- =05-2023 accrue 47
Cannot: apply FIC. cet a
Facility’: Category Assignment Start. oe .Skop oan . Bo
URED ESA °. “UR-MED’ -08~ ~28-2023 1444 ‘CURRENT ©
. Start, : Stop Pgm Status © Pgqm Days
-Q7-18-2023 07-20-2023 disallow 2°
_ Incomplete neéds:. ‘assessment
‘Missing Need Area is)
- “Anger /Hostility
Start | Stop “pgm Status Pgm Days
07-20-2023 09-05-2023 accrue 47.
Accrued Pgm Dayses.r47 0° |: . Soe Dee
Carry Over Pqin Days: 0 7 —
‘Time Credit Factor.: 10
‘Time Credits:......: 10
--- FSA Assessment cones wenn a naa fetter -or--+------- Samar rrr aman s cannon acan ans sma aca
start ‘Stop pon Status oo Risk Assignmeat’ Ri ak. Asn; Start “Factor
01 07-18- 2023 08-15-2023 ACTUAL ©." ESA“R-MED. 08-09 -2023.0821 16 GF
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Case 1:24-cv-1
-Cv-10045-LTS Document 16-1 Filed 03/25/24 Page 134 0 LE YW GA \H

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1. Cospegeecevagoas.iTg, Rosen 3210 CUSSae'et 689d”

Register Number: 64386-054, Last Name:BORKER

U.S.- DEPARTMENT OF JUSTICE _ FEDERAL BUREAU OF PRISONS

Register Number: 64386-0054 Risk Level Inmate....: R-MED
Inmate Name General Level...... : R-MED (46)
Last....-e-e- : BORKER Violent Level......: - R-MED (27)
First.....-+- : VITALY Security Level Inmate: LOW
_Middle..... at Security Level Facl..: LOW
— Subtix...... et . : — , ” -|pesponsible Facility.: DEV
Gender.........: MALE oO : Start Incarceration..: 04/28/2023

PATTERN Worksheet Summary

_ Item con ce - , - Value - General Score - Violent Score
Current Age te AT oe wo 00 Bo .
"Walsh w/Convietion wee eden cw TRUE : 2 8
“violent. Offense . (PATTERN)... FALSE Oo Q
 Gyiminal History Points”” : 8 624
History of Escapes 0 Oo ge
“History of. “Violence Cea De Be Sa, 4 Bo
“Education Score”: pA Eth Oe HighSchoolDegreeOrGED -2 se
Drug Program Status . NoDAPCompLetion , 0 , . o.
All Incident Reports (120 Months) “Ta 1 1
_Serious Incident Reports (120. Months) 0 0 0
‘Pime Sitice Last” “Tricident fléport LE oe oR 3.
Time Since Last Serious Incident Report N/A 0 . 0
FRP Refuse. (tte bs a. _ FALSE 0 Q
"programs completed: Cia ste s <a 0 0:
“Work Programs ©.” Ce QF oN 20. OF
oe ee oo “ Potal: 46° “27

_ PATTERN. Worksheet Details

” Ttem: Programs — ‘completed, “Value” o:
General Score: 0, ‘Violent. score: “0.
Risk Item Data.
No Data Dee

Item: Work Programs, Value! 0."
General Score: 0, Violent Score: 0
Risk Item Data

No Data

ev Assessment# %-2146606747
. Case 1:24-cv-10045-LTS Document 16-1 Filed 03/25/24 Page 14 of 15

FSA. Time Credit Assessment
Register Number : 64386~ ~054, Last Name: BORKER

U.S. .EPARTMENT OF “JUSTICE
. ee”

EXH\ 6IT 5

FEDERAL BUREAU OF parsons
Register Number....: 64386-054 Responsible Facility: FTD
_inm-vce. Name o Assessment Daté.....: 09-05-2023
MASC Ore cere eee eed BORKER Period Start/Stop...: 07-18-2023 to 09-05-2023.
First... eee peace? VITALY Accrued Pom Days....: 47 .
Middle........2.53 . Disallowed Pom Days. : 2
Suffix... ..2.ee eed Oo , J FIC Towards RRC/HC.
Gender.............: MALE FTC Towards Release.: 10
Start Incarceration: 04-28-2023 Apply FTC to Release: No
Start. : Stop. Pom Status gm Days.
07-18- 2023 09-05-2023 accrue aT
‘Cannot apply FTC .
Facility. Category Assignment Start . . Stop | : a
“PED FSA R-MED © 08-28-2023 1444 “CURRENT oe
- Start Stop Pgm Status .Pgm Days .
07-18-2023 07-20-2023 disallow 2°
‘ Incomplete’ needs assessment
‘Missing Need Area(s)
Anger/Hostility
Start Stop -Pgm Status Pgm Days
07-20-2023 09-05-2023 accrue 47.
~ Accrued Pgm- Days. “47 .
n Carry ‘Over Pgm- Days: 0
Time Credit Factor.: 10
Time Credits.:......: 10
--- FSA Assessment sore tr octane caren ben enn cena tence sen nen renee ne eee eee
# 2 /Start Stop. . Status. . J Risk “Ass tgpmacit Risk. Asn, Start - - Factor
Q01 07-18-2023 08-15-2023 ACTUAL © ° FSA R-MED : oo *98+09-2023- 0821 1. .
08-15-2023: 02-11-2024 ACTUAL ~ FSA «MED -08-09- -2023 0821 TO —

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Case 1:24-cv-10045-LTS Document 16-1 Filed 03/25/24 Page 15

Register Number: 64386-054, Last Name: BORKER
-s. ‘DEPARTMENT OF JUSTICE

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FSA Recidivism Risk Assessment (PATTERN 01.03.00)

FEDERAL BUREAU OF PRISONS

' Register Number: 64386-054
Inmate Name
Last.......4.23 BORKER
First........:- VITALY
Middle.......:
Suffix.......:
Gendér.........: MALE

Risk Level Inmate....:
General Level...... 2
Violent Level...... 3

Security Level Inmate:

Security Level Facl.

Responsible Facility.:

Start Incarceration..:

R-LW
R-LW (32)
R-LW (21)
LOW

: LOW

DEV
04/28/2023

PATTERN Worksheet Details

Item: Programs Completed, Value: 11
General Score: -12, Violent Score: -4
"Risk Item Data
, Category - Assignment - Start - Stop
“EDC  °~ «SMALL ENG )~=—09/11/2023 17:30 09/11/2023 17:30
REST CON 1 09/12/2023 17:30. 09/12/2023 17:30 |
"ASRI RAILS 09/13/2023 18:00 09/13/2023 18:00
PALEOWORLD’ 09/14/2023 17:30 09/14/2623 17:30
MOBIL FOOD 11/06/2023 17:30 11/06/2023 17:30
BRAIN GAME 11/07/2023 17:30 11/07/2023 17:30
WORLD. TRAV . 11/09/2023 17:30. 11/09/2023 17:30...
‘SOTH CENT 11/14/2623 08:17 11/14/2623 08:17
BL ACHIEVE 01/09/2024 17:00 01/09/2024
’ SAMURAT. 45. -. 01/10/2024 17:30 01/10/2924. 17:
cL “BEONEER TR: 03/11/2024 17:30 o/ti/2024” BO Ee
Téém: Work Programs,” Value: L
General Score: -1, Violent Score: -1
-Risk Item.. Data _ ow
- ‘catégory:-. Assignment - ‘Start oo. - Stop ey Me et
Ce oS “ACT. WRKEYS. 10/16/2023, 07:30 10/26/2023 07:39 0
Assessment Date: 03/05/2024 (1) Assessment# R-2146408705
